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                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

Atooi Aloha, LLC, et al.,                  )       CV 16-00347JMS-RLP
                                           )
              Plaintiffs,                  )
                                           )
       vs.                                 )
                                           )
Abner Gaurinol, et al.,                    )
                                           )
           Defendants.                     )
_______________________________            )

              SECOND AMENDED RULE 16 SCHEDULING ORDER

       Pursuant to Fed. R. Civ. P. 16(b) and LR 16.3, the Court enters this second

amended scheduling order.

TRIAL AND PRETRIAL CONFERENCE SCHEDULING:

1.     JURY trial in this matter will commence before the Honorable J. Michael

Seabright, Chief United States District Judge on October 16, 2018, at 9:00 AM.

2.     A final pretrial conference shall be held on September 5, 2018, at 9:00 AM before

the Honorable Richard L. Puglisi, United States Magistrate Judge.

3.     (RESERVED)

4.     Pursuant to LR 16.6, each party herein shall serve and file a separate final pretrial

statement by August 28, 2018.

MOTIONS:

5.     All motions to join additional parties or to amend the pleadings shall be filed by

March 16, 2018.
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6.     Other non-dispositive motions, except for motions in limine and discovery

motions, shall be filed by July 18, 2018.

7.     Dispositive motions shall be filed by May 16, 2018.

8.     Motions in limine shall be filed by September 25, 2018.

Any opposition memorandum to a motion in limine shall be filed by October 2, 2018.

DISCOVERY:

9.     Unless and until otherwise ordered by the Court, the parties shall follow the

discovery plan agreed to by the parties herein pursuant to Fed. R. Civ. P. 26(f).

10.    (RESERVED)

11.    Pursuant to Fed. R. Civ. P. 26(a)(2), each party shall disclose to each other party

the identity and written report of any person who may be used at trial to present expert

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. The disclosures

pursuant to this paragraph shall be according to the following schedule:

       a.     All plaintiffs shall comply by April 16, 2018.

       b.     All defendants shall comply by May 16, 2018.

Disclosure of the identity and written report of any person who may be called solely to

contradict or rebut the evidence of a witness identified by another party pursuant to

subparagraphs a and b hereinabove shall occur within thirty (30) days after the disclosure

by the other party.

12.    Pursuant to Fed. R. Civ. P. 16(b)(3) and LR 16.2(a)(6), the discovery deadline

shall be August 17, 2018. Unless otherwise permitted by the Court, all discovery
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pursuant to Federal Rules of Civil Procedure, Rules 26 through 37 inclusive must be

completed by the discovery deadline. Unless otherwise permitted by the Court, all

discovery motions and conferences made or requested pursuant to Federal Rules of Civil

Procedure, Rules 26 through 37 inclusive of LR 26.1, 26.2 37.1 shall be heard no later

than thirty (30) days prior to the discovery deadline.

SETTLEMENT:

13.    A settlement conference shall be held on July 16, 2018, at 10:00 AM before the

Honorable Richard L. Puglisi, United States Magistrate Judge.

14.    Each party shall deliver to the presiding Magistrate Judge a confidential settlement

conference statement by July 9, 2018. The parties are directed to LR 16.5(b) for the

requirements of the confidential settlement conference statement.

15.    The parties shall exchange written settlement offers and meet and confer to discuss

settlement before the date on which settlement conference statements are due.

TRIAL SUBMISSIONS:

       JURY ISSUES:

16.    The parties shall prepare in writing and submit to the Court any special voir dire

inquiries they wish the judge to ask the jury panel.

17.    The parties shall confer in advance of trial for the purpose of preparing an agreed

upon special verdict form, if a special verdict form is to be requested. The agreed upon

special verdict form shall be submitted to the Court. In the event of disagreement, the

parties shall submit all proposed special verdict forms to the Court.
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18.      The parties shall confer in advance of trial for the purpose of preparing an agreed

upon concise statement of the case that may be read by the trial judge to the jury during

voir dire. The agreed upon concise statement of the case shall be submitted to the Court.

In the event of disagreement, the parties shall submit all proposed concise statements of

the case to the Court.

19.      Jury instructions shall be prepared in accordance with LR 51.1 and submitted to

the Court.

20.      All submissions to the Court required by paragraphs 16, 17, 18 and 19 shall be

made by October 2, 2018.

         WITNESSES:

21.      By September 25, 2018, each party shall serve and file a final comprehensive

witness list indicating the identity of each witness that the party will call at trial and

describing concisely the substance of the testimony to be given and the estimated time

required for the testimony of the witness on direct examination.

22.      The parties shall make arrangements to schedule the attendance of witnesses at

trial so that the case can proceed with all due expedition and without any unnecessary

delay.

23.      The party presenting evidence at trial shall give notice to the other party the day

before of the names of the witnesses who will be called to testify the next day and the

order in which the witnesses will be called.

         EXHIBITS:
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24.      By September 18, 2018, the parties shall premark for identification all exhibits and

shall exchange or, when appropriate, make available for inspection all exhibits to be

offered, other than for impeachment or rebuttal, and all demonstrative aids to be used at

trial.

25.      The parties shall meet and confer regarding possible stipulations to the authenticity

and admissibility of proposed exhibits by September 25, 2018.

26.      By October 2, 2018 the parties shall file any objections to the admissibility of

exhibits. Copies of any exhibits to which objections are made shall be attached to the

objections.

27.      The original set of exhibits and two copies (all in binders) and a list of all exhibits

shall be submitted to the Court the Thursday before trial.

         DEPOSITIONS:

28a.     By September 25, 2018, the parties shall serve and file statements designating

excerpts from depositions (specifying the witness and page and line referred to) to be

used at trial other than for impeachment or rebuttal.

  b.     Statements counter-designating other portions of depositions or any objections to

the use of depositions shall be served and filed by October 2, 2018.

         TRIAL BRIEFS:

29.      By October 2, 2018, each party shall serve and file a trial brief on all significant

disputed issues of law, including foreseeable procedural and evidentiary issues, setting

forth briefly the party's position and the supporting arguments and authorities.
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30.   (RESERVED)

OTHER MATTERS: None

      IT IS SO ORDERED.

      DATED: Honolulu, Hawaii, February 9, 2018.




                                            _____________________________
                                            Richard L. Puglisi
                                            United States Magistrate Judge




Atooi Aloha, LLC, et al., vs. Abner Gaurinol, et al.,; CV 16-00347LEK-RLP; Second
Amended R16 Scheduling Order
